  Case 18-33961      Doc 39   Filed 03/21/19 Entered 03/22/19 06:35:36            Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:     18-33961
Adetutu C Marinho                          )
                                           )               Chapter: 13
                                           )
                                                           Honorable Timothy Barnes
                                           )
                                           )
              Debtor(s)                    )

                                      Order Confirming Plan

       The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 36, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.




                                                        Enter:


                                                                 Timothy A. Barnes
Dated: March 21, 2019                                            United States Bankruptcy Judge
